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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
                                 TRENTON DIVISION

THE INDEPENDENCE PROJECT, INC.,
A New Jersey Non-Profit Corporation, and
RONALD MOORE, Individually,

       Plaintiffs,

v.                                                 Case No. 3:15-cv-8448-FLW-LHG

HAZBRO REALTY, INC., a New Jersey
Corporation,

      Defendant.
_____________________________________/

                     STIPULATION FOR DISMISSAL WITH PREJUDICE

        Plaintiffs and Defendant, pursuant to the Federal Rules of Civil Procedure, hereby move
to dismiss this action with prejudice, a resolution of all matters in dispute having been made
pursuant to a Settlement Agreement executed between the parties. The parties have stipulated in
their agreement that the Court retain jurisdiction to enforce the terms and conditions of the
Settlement Agreement.
       Respectfully Submitted,

/s/ Asaad K. Siddiqi                       /s/ Mark Goldstein
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Date: April 20, 2017                       Date: April 20, 2017
